4:15-cr-03100-RGK-CRZ         Doc # 96    Filed: 06/29/16    Page 1 of 1 - Page ID # 386




                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,
                    Plaintiffs,                                4:15CR3100
       vs.
                                                                 ORDER
SANTOS RAMIREZ-MORALES,
                    Defendant.



       Defendant has moved to continue defendant’s change of plea hearing. (Filing No.
95).   As explained by counsel, the parties need additional time to engage in plea
discussions. The motion to continue is unopposed. Based on the representations of
counsel, the court finds the motion should be granted. Accordingly,

       IT IS ORDERED:

       1)     Defendant’s motion to continue, (filing no. 95), is granted.

       2)    The defendant's plea hearing will be held before the undersigned magistrate
             judge on July 26, 2016 at 2:30 p.m.. The defendant is ordered to appear at
             this hearing.

       3)    For the reasons stated by counsel, the Court finds that the ends of justice
             served by continuing defendant's plea hearing outweigh the best interest of
             the defendant and the public in a speedy trial. Accordingly, the time
             between today's date and the district court judge's acceptance or rejection of
             the anticipated plea of guilty shall be excluded for speedy trial calculation
             purposes. 18 U.S.C. § 3161(h)(7).

       June 29, 2016.
                                                BY THE COURT:
                                                s/ Cheryl R. Zwart
                                                United States Magistrate Judge
